16-2020-CA-002367-XXXX-MA Div: CV-G
Case 3:20-cv-01175-TJC-PDB Document 3 Filed 10/16/20 Page 1 of 6 PagelD 36

Filing # 106466554 E-Filed 04/20/2020 04:04:42 PM

IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE NO.:
DIVISION:

CHERYL C. SWAIN, as Personal
Representative of the Estate of JOHN PAUL
SWAIN, Deceased,

Plaintiff,
VS.

NUCOR, a foreign for profit corporation,
and NUCOR FASTENER SALES
CORPORATION, a foreign for profit
corporation

Defendants.

 

COMPLAINT

The Plaintiff, Cheryl C. Swain, as Personal Representative of the Estate of John Paul
Swain, deceased, hereby sues the Defendants Nucor, a foreign for profit corporation (hereinafter
“Nucor”’), and Nucor Fastener Sales Corporation, a foreign for profit corporation (hereinafter
“Fasteners”’) and alleges:

GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

1. This is an action for damages in excess of $75,000.00, exclusive of interest and
costs.

2. This is an action brought pursuant to the provisions of the Florida Wrongful Death
Act, § 768.16 et seq., Florida Statutes, for the wrongful death of John Paul Swain.

3. The Plaintiff, Cheryl C. Swain, is the duly appointed, qualified and acting personal

representative of the Estate of John Paul Swain, deceased.

ACCEPTED: DUVAL COUNTY, RONNIE FUSSELL, CLERK, 04/23/2020 09:58:16 AM
Case 3:20-cv-01175-TJC-PDB Document 3 Filed 10/16/20 Page 2 of 6 PagelD 37

4. At the time of his death, the decedent, John Paul Swain, was a resident and citizen
of Georgia.
5. On the date of his death May 2, 2018, the decedent, John Paul Swain, had the
following statutory survivor:
a. Cheryl C. Swain, his surviving wife.
6. As a result of the below described negligence, John Paul Swain died on May 2,
2018, and as a direct and proximate result of the incident, decedent’s estate and statutory survivor
have been damaged as follows:
a. Loss of the value of the prospective net accumulations of the decedent, John
Paul Swain, which might have been reasonably expected but for his wrongful
death;
b. Medical and funeral expenses which have become a charge against the estate,
or which were paid by or on behalf of decedent;
c. Cheryl C. Swain has suffered and will continue to suffer in the future, the loss
of the support and services of the decedent; and
d. Cheryl C. Swain has suffered and will continue to suffer in the future the loss
of her husband’s companionship and protection and mental pain and suffering
as a result of his injury and death.
7. Nucor is a foreign corporation organized under the laws of the State of Delaware
with its principal place of business in Charlotte, North Carolina. Fasteners is a foreign corporation
organized under the laws of the State of Delaware with its principal place of business in Saint Joe,

Indiana.
Case 3:20-cv-01175-TJC-PDB Document 3 Filed 10/16/20 Page 3 of 6 PagelD 38

8. On or about May 2, 2018, in Jacksonville, Duval County, Florida, the decedent,
John Paul Swain, was operating an Altec Digger Derrick for his employer, Henkels & McCoy,
Inc. Mr. Swain was in the operator platform at the end of the chassis mounted boom which was
extended when one or more rotation bearing cap screws failed, the boom collapsed, and Mr. Swain
was ejected, and killed.

9. Defendants Nucor and/or Fasteners are engaged in the business of manufacturing
industrial fasteners and bolts, including the rotation bearing cap screws that failed in this incident.

10. The rotation bearing cap screws were not altered from the time they left the control
of defendants, Nucor and/or Fasteners, until the time of the incident described above.

11. | The rotation bearing cap screws were installed in and being used in the Altec Digger
Derrick with knowledge of either or both Nucor and/or Fasteners and for their intended foreseeable
purpose at the time of the incident described above.

Count I: Negligence

12. Defendants, Nucor and/or Fasteners had a duty to design, manufacture, and
distribute the rotation bearing cap screws in a reasonably safe condition for the protection of users
such as the decedent who would foreseeably be using a machinery held together with these
specialized screws and would be injured or killed should the screws fail during operation of the
machinery.

13. | Defendants Nucor and/or Fasteners negligently breached its duty to the decedent in
one or more of the following respects:

a. Defendants Nucor and/or Fasteners manufactured the rotation bearing cap screws
to be of insufficient strength or lack of ductility (brittleness) to withstand the

foreseeable use to which they would be put;
Case 3:20-cv-01175-TJC-PDB Document 3 Filed 10/16/20 Page 4 of 6 PagelD 39

b. Defendants Nucor and/or Fasteners failed to adequately test the rotation bearing
cap screws to determine their limitations in strength and/or useful life;
c. Defendants Nucor and/or Fasteners failed to exercise proper and appropriate quality
control in the manufacture of the rotation bearing cap screws;
d. The brittle failure of the rotation bearing cap screws under load led to the sudden
and catastrophic result;
e. The failure mechanism of the rotation bearing cap screws was similar to the failure
of one or more other lines of bolts recalled by either Nucor and/or Fasteners;
f. Defendants Nucor and/or Fasteners failed to issue proper and adequate warnings as
to the strength and/or useful life limitations of the rotation bearing cap screws.
14. Asa direct and proximate result of the aforesaid negligence of Defendants Nucor
and/or Fasteners, the Decedent, John Paul Swain, suffered bodily injury resulting in his death.
WHEREFORE, Plaintiff, Cheryl C. Swain, as Personal Representative of the Estate of
John Paul Swain, Deceased demands judgment for damages, costs, and such other relief as
provided by law against Defendants, Nucor, a foreign for profit corporation and/or Nucor Fasteners
Sales Corporation, a foreign for profit corporation and demands trial by jury on all issues so triable.

Count II: Strict Liability

 

15. Plaintiff realleges and incorporates in this count the allegations of 1 thru 11 above
and further alleges:

16. Defendants Nucor and/or Fasteners were manufacturers, distributors and sellers
engaged in the business of manufacturing and selling the rotation bearing cap screws which are

the subject of this Complaint.
Case 3:20-cv-01175-TJC-PDB Document 3 Filed 10/16/20 Page 5 of 6 PagelD 40

17.

At the time the bearing cap screws left the control of Defendant, Nucor and/or

Fasteners they were in a defective condition, unsafe, and unreasonably dangerous for their intended

use by foreseeable users, including the decedent, in one or more of the following respects:

a.

18.

the rotation bearing cap screws were of insufficient strength or lack of ductility
(brittleness) to withstand the foreseeable use in construction machinery;

the rotation bearing cap screws were not tested by Nucor and/or Fasteners to
determine their limitations in strength and/or useful life;

the rotation bearing cap screws were manufactured without proper and appropriate
quality control;

The rotation bearing cap screws were prone to sudden and catastrophic failure
under normal conditions;

The failure mechanism of the subject rotation bearing cap screws was similar to the
failure of one or more other lines of bolts previously recalled by Nucor and/or
Fasteners;

The rotation bearing cap screws were sold without warnings that they would
inexplicably fail under normal operating conditions;

The rotation bearing cap screws were defective in that they failed to perform as
safely as an ordinary consumer would expect when the product is used in an
intended or reasonably foreseeable manner.

At all times relevant, there was a design or manufacturing defect in the rotation

bearing cap screws that resulted in an unreasonably dangerous product unfit for its intended use.

19.

These defects in the rotation bearing cap screws caused the wrongful death of John

Paul Swain and the damages to his widow and estate as alleged herein.
Case 3:20-cv-01175-TJC-PDB Document 3 Filed 10/16/20 Page 6 of 6 PagelD 41

WHEREFORE, Plaintiff, Cheryl C. Swain, as Personal Representative of the Estate of
John Paul Swain, Deceased demands judgment for damages, costs, and such other relief as
provided by law against Defendants, Nucor and/or Nucor Fasteners Sales Corporation and

demands trial by jury on all issues so triable.

PAJCIC & PAJCIC, P.A.

/s/ Thomas F. Slater

 

THOMAS F. SLATER, Esq.
Florida Bar No.: 614114

WILLIAM S. BURNS, JR., Esq.
Florida Bar No.: 172385
BENJAMIN E. RICHARD

Florida Bar No.: 13896

One Independent Drive, Suite 1900
Jacksonville, FL 32202

Telephone: (904) 358-8881
Telefax: (904) 354-1180

Attorneys for Plaintiff, Cheryl C. Swain, as
Personal Representative of the Estate of John
Paul Swain, deceased
